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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    BERKELEY VENTURES II, LLC

               Plaintiff,
                                                 Civil Action File No.
    v.                                           1:19-cv-05523-SDG

    SIONIC MOBILE CORPORATION and
    RONALD D. HERMAN,

               Defendants.


         REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANT
         SIONIC MOBILE CORPORATION’S MOTION FOR LEAVE
         TO JOIN THIRD-PARTY DEFENDANT LINDA ROSSETTI

         The purported Brief in Opposition [Doc. 135] of Non-Party Linda

Rossetti (“Rossetti”) to the pending Motion of Defendant Sionic Mobile

Corporation (“Sionic”) for Leave to Join Third-Party Defendants and Permit

Counterclaims [Doc. 127 – 127-6] should be rejected and denied consideration

by the Court for three reasons. First, Rossetti has submitted her purported

Brief in Opposition without having moved for intervention or being granted

the right to intervene under Rule 24, meaning neither Rossetti nor her

lawyers are properly before this Court.1 Second, Rossetti’s purported Brief in



1   Each of the Federal Rules of Civil Procedure are referred to as a “Rule.”

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Opposition is effectively a Rule 12(b)(6) motion to dismiss, which as a matter

of law can only be made against a pleading, not a motion. Finally, Rossetti’s

purported Brief distorts Sionic’s allegations and the law, thereby addressing

neither on the merits. For these reasons, Sionic respectfully requests the

Court deny Rossetti’s purported Brief in Opposition consideration.

               ARGUMENT AND CITATION OF AUTHORITY

        Rossetti’s purported Brief in Opposition does not follow the Rules,

seeks relief barred as a matter of law, and constitutes yet another example of

the waste of resources and time that Sionic and this Court have been forced

to endure in this matter. Respectfully, the Court should not consider

Rossetti’s purported Brief in Opposition, including for the following reasons:

   I.      Rossetti has not moved to intervene, has not complied with
           Rule 24, and has made no argument or showing
           demonstrating her right to oppose Sionic’s Motion.

        Absent the court granting a motion to intervene under Rule 24, a non-

party to an action lacks standing to oppose a party’s motion or a court’s order

on that motion. Evans v. United States Pipe & Foundry Co., No. 1:05-CV-

01017-KOB, 2018 U.S. Dist. LEXIS 126496 at *9 (N.D.Ala. Jul. 30, 2018)

(“CFNEA is not a party to this action, and it did not file a motion to intervene

. . . Therefore, the court had no basis for corresponding with CFNEA or

eliciting its opinion regarding the motion”); Harvey v. Miller, No. H-12-1990,

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2013 U.S. Dist. LEXIS 196434 (S.D.Tex. Oct. 25, 2013). A lawyer for a non-

party is not counsel of record and has no right to appear before the court

unless the court has granted the non-party’s motion to intervene. Hufnagle v.

Rino Int'l Corp., No. CV 10-08695 DDP (VBKx), 2012 U.S. Dist. LEXIS

177663 at *7 (C.D.Cal. Dec. 14, 2012). A non-party’s failure to move for

intervention while seeking relief from the court deprives the actual parties to

the action of the opportunity to respond to the intervention, which further

constitutes grounds for denying such relief. Muldrow v. Davis, No. 4:08cv109-

SPM/WCS, 2008 U.S. Dist. LEXIS 121542 (N.D.Fla. Jun. 10, 2008), adopted

2008 U.S. Dist. LEXIS 60746 (N.D.Fla. Jul. 29, 2008).

      To successfully intervene, a non-party must timely file a motion

demonstrating either intervention as of right under Rule 24(a) or permissive

intervention under Rule 24(b). Under Rule 24(c), a motion to intervene must

be accompanied by a pleading that states the claim or defense on which

intervention is sought. Developers Sur. & Indem. Co. v. Archer Western

Contrs., LLC, 2017 U.S. Dist. LEXIS 80411 at *7 (M.D.Fla. Apr. 3, 2017)

(holding that “standing alone,” intervenor’s failure to comply with Rule 24(c)

“would be sufficient grounds to the deny the motion” to intervene) adopted

2017 U.S. Dist. LEXIS 80050 (M.D.Fla. May 25, 2017). Rule 24 does not allow

a non-party to interject affirmative interests into a case but instead requires

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the non-party to align with a defendant in contesting a right of recovery—

which the non-party does by intervening as a defendant. Hubner v.

Schoonmaker, No. 89-3400, 1990 U.S. Dist. LEXIS 13035 at *22 (E.D.Pa. Oct.

2, 1990).

        Here, Rossetti is not a party to this case. She therefore lacks standing

to oppose Sionic’s pending Motion unless and until the Court grants Rossetti

the right to intervene, which the Court cannot do because Rossetti has filed

no motion and articulated no factors supporting intervention. Rossetti does

not seek to align with either Berkeley or Capital in this litigation and has

specified no harm that she would suffer if the Court grants Sionic’s Motion

absent her intervention. Nor can she. If the Court grants Sionic’s Motion,

Rossetti can plead all defenses and seek dismissal at that time.

        In addition to these critical failures, Rossetti has not submitted a Rule

24(c)-compliant pleading articulating her purported defenses. Rather, and as

discussed part III to this Brief, all Rossetti has presented are conclusory and

bald contentions from which allegations must be inferred; for example, that

she would have had “no reason or basis for communicating with Berkeley,”2

or that for some reason, she “plainly did not act as an agent of Sionic in the



2   Rossetti’s purported Brief in Opposition at 7.

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Transaction.”3 What allegations may support such contentions are entirely

absent, and Rosset has not submitted a pleading stating any of them.

      Finally, Rossetti’s purported Brief in Opposition is not timely. Sionic

filed its Motion on May 11, 2021. Jason Godwin, who is also Rossetti’s

attorney (albeit for a purportedly narrower purpose in this case), knew about

Sionic’s Motion and no doubt informed her of it.4 But, over a month after

Sionic filed its Motion and after its submission to chambers, Rossetti still has

not filed a motion to intervene. Rather, she only filed her purported Brief in

Opposition on June 18, 2021, well after the expiration of the time to file

under LR 7.1(B). Under such circumstances, a brief in opposition is properly

denied consideration, especially when, as here, the nonmovant neither sought

nor obtained the court’s permission for an extension of time in which to file

and demonstrated none of the factors supporting a showing of excusable

neglect. Milon v. Bank of Am., N.A., No. 1:14-CV-01405-MHS-GGB, 2015 U.S.

Dist. LEXIS 180377 at *9 (N.D.Ga. Feb. 19, 2015), adopted 2015 U.S. Dist.

LEXIS 180369 at *1 (N.D.Ga. Mar. 16, 2015); Silvestar v. Bank of Am., N.A.,

No. 1:13-cv-01853-CC-GGB, 2013 U.S. Dist. LEXIS 203967 at *4 (N.D.Ga.



3 Rossetti’s purported Brief in Opposition at 6.
4 Email dated April 12, 2021 from Godwin to Jenner, attached and
incorporated as Ex. A to this Reply Brief.

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Sept. 10, 2013), adopted 2013 U.S. Dist. LEXIS 203996 (N.D.Ga. Oct 1, 2013);

Wright v. Dyck-O’Neal, Inc., No. 2:15-cv-249-FtM-38MRM, 2016 U.S. Dist.

LEXIS 92965 at *8, *18 (M.D.Fla. June 27, 2016), adopted 2016 U.S. Dist.

LEXIS 92963 (M.D.Fla. Jul. 16, 2016) (holding that litigants are charged with

knowing when submissions are due).

         Rossetti’s purported Brief in Opposition is not properly before the

Court. It does not comply with Rule 24 or with LR 7.1(B). Respectfully, the

Court should deny Rossetti’s purported Brief in Opposition consideration.

   II.      Rossetti’s purported Brief in Opposition not only likely
            exceeds 25 pages but is really a motion to dismiss—which is
            not proper at this stage of litigation.

         Besides failing to follow Rule 24, Rossetti’s purported Brief in

Opposition also violates her obligations in two other ways. First, Rossetti

violates LR 5.1(D) by having a one inch instead of “one and one-half inch” top

margin. This violation means that Rossetti’s purported Brief in Opposition—

already stretched to the edge of 24 pages—may well exceed the 25-page limit

imposed under Rule 7.1(D).

         Second, Rossetti has not addressed Sionic’s Motion and Counterclaim-

TPC on their merits. Rather, she has submitted what is essentially a Rule

12(b)(6) motion to dismiss dressed in the rags of a purported opposition,

which is improper. ISC Holding AG v. Nobel Biocare Fin. AG, 688 F.3d 98,

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112 (2d Cir. 2012) (holding a party cannot file a Rule 12(b)(6) motion to

dismiss in response to a motion because motions are not pleadings and thus

cannot be subject to dismissal). This fact is evident in Rossetti’s assertion

that her joinder to this action would be “futile” due to Sionic’s alleged failure

to sufficiently state claims against her, including a purported failure to state

a claim on indemnity and contribution,5 to state an actionable claim for libel

and defamation,6 “to state a valid claim” for civil conspiracy,7 and to state a

claim for tortious interference,8 amongst others. If there is any doubt,

Rossetti’s key cases all arise from motions to dismiss that were filed after the

service of the third-party complaint and which reference the legal standards

applicable to Rule 12(b)(6) motions to dismiss—with one case even

constituting a post-judgment appeal. See, e.g., United States v. Olavarrieta,

812 F.2d 640, 643 (11th Cir. 1987) (granting “motion to dismiss” a duly filed

and served third-party complaint); see also, e.g., Yanzhuo Zhang v. Fieldale

Farms Corp., No. 3:16-CV-55 (CDL), 2017 U.S. Dist. LEXIS 229574 at *5

(M.D.Ga. Jul. 28, 2017) (“To survive a motion to dismiss under Federal Rule

of Civil Procedure 12(b)(6)”); U.S. Capital Funding VI, Ltd. v. Patterson


5 See, e.g., Rossetti’s purported Brief in Opposition at 6-7.
6 See, e.g., Rossetti’s purported Brief in Opposition at 13.
7 See, e.g., Rossetti’s purported Brief in Opposition at 15.
8 See, e.g., Rossetti’s purported Brief in Opposition at 19.



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Bankshares, Inc., 137 F. Supp. 3d 1340, 1347 (S.D.Ga. 2015) (“Presently

before the Court are several Motion to Dismiss”); Al-Sharif v. EPES Transp.

Sys., No. CV 111-037, 2012 U.S. Dist. LEXIS 20492 *14 (S.D.Ga. Feb. 17,

2012) (denying joinder motion only after complaint dismissed under Rule

12(b)(6)); FDIC v. Loudermilk, 826 S.E.2d 116 (Ga. 2019) (answering certified

questions after judgment on appeal to 11th Circuit); Hines v. Holland, 779

S.E.2d 63, 66 (Ga. Ct. App. 2015) (“Hines filed his notice of appeal,

challenging only the trial court’s order granting the . . . motion to dismiss”).

Regardless of supposed ‘futility,’ Rossetti’s arguments are proper for a Rule

12(b)(6) motion after she is served, not before, as her own cases confirm.

      The reality is that Berkeley, an actual party to this case, late-filed its

Brief in Opposition to Sionic’s Motion.9 That Brief asserted purported factual

and legal grounds against Rossetti’s joinder under Rules 14 and 19, in which

regard Jason Godwin’s status as Rossetti’s counsel should not be ignored.10

Rossetti’s purported Brief in Opposition is an out-of-time, second bite at the

apple, which contrary to law asserts Rule 12(b)(6) grounds to thwart Sionic’s

rights. Respectfully, the Court should refuse such efforts.


9Sionic’s Reply Brief [Doc. 131] part I at 2-5.
10Berkeley’s Brief in Opposition [Doc. 128] part II at 5 (“Addition of BCP and
Rossetti as Third-Party Defendants is not Proper”), part III at 7 (“Addition of
BCP and Rossetti as Required Parties is not Proper”); Ex. A.

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   III.     Rossetti’s purported Brief in Opposition misrepresents the
            allegations of Sionic’s Counterclaim-TPC, argues questions
            of fact that are not proper for resolution at this stage of
            litigation, and attempts to impose on Sionic a pleading
            standard that is beyond the requirements of Rule 8(a)(2).

      In effectively arguing dismissal, Rossetti’s purported Brief in

Opposition neither properly moved under nor applied Rule 12(b)(6). Instead,

she leaves it to the Court to do her work, inferring relief she has not sought

based on defenses she has not alleged, whether in a pleading compliant with

Rule 24(c) or otherwise. Furthermore, by improperly utilizing the form of a

brief in opposition, Rossetti has contrived to limit Sionic to 15 pages in reply,

rather than the 25 pages Sionic ought to have in responding to such a motion.

      Nonetheless, while Rossetti has arranged matters such that Sionic

lacks the pages to address all of her arguments and contentions, a cursory

review of the Counterclaim-TPC shows that Sionic satisfied the pleading

standard under Rule 8(a) sufficient to survive a Rule 12(b)(6) motion. Scheuer

v. Rhodes, 416 U.S. 232, 236 (1974) (holding that in evaluating a party’s

claims under Rule 12(b)(6), a court should only test the legal sufficiency of a

complaint and not whether the plaintiff will prevail on the merits, the court

thereby accepting as true all facts alleged and construing all reasonable

inference in the light most favorable to the plaintiff); Speaker v. United States

HHS CDC & Prevention, 623 F.3d 1371, 1386 (11th Cir. 2010) (holding a

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plaintiff “need not prove his case on the pleadings—his Amended Complaint

must merely provide enough factual material to raise a reasonable inference,

and thus a plausible claim”); Roberts & Schaefer Co. v. Hardaway Co., No:

95-590-CIV-T-17E, 1995 U.S. Dist. LEXIS 10667 at *3 (M.D.Fla. Jul. 25,

1995) (holding Rule 8(a) embodies a liberal notice standard that disfavors

dismissal at the pleading stage and instead depends upon the generous and

flexible provisions for discovery to establish the facts and evidence that may

exist in support of a given claim).

        Here, Rossetti’s meager arguments do nothing to show that Sionic’s

Counterclaim-TPC failed satisfied Rule 8(a) or are otherwise subject to

dismissal under Rule 12(b)(6). For example, Rossetti contends that Sionic

failed to state a claim for contribution and indemnity. But Rossetti’s

purported Brief in Opposition does not explain how. Instead, Rossetti resorts

to bald and conclusory contentions that clumsily attempt to obviate Sionic’s

well-pled allegations with mere hyperbolic gainsaying, including that it is

“beyond dispute that Rossetti was not a party to the Transaction,”11 that “she

would have had no reason or basis for communicating with Berkeley about

Sionic’s performance during due diligence,”12 that she “plainly did not act as


11   Rossetti’s purported Brief in Opposition at 7.
12   Rossetti’s purported Brief in Opposition at 7.

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an agent of Sionic in the Transaction,”13 and that she cannot be a “joint

tortfeasor” because she was purportedly not party to the Sionic investment.14

      Why any of these contentions is plain, beyond dispute or obvious is

elucidated nowhere in Rossetti’s purported Brief in Opposition. As such, they

are inadequate for Rule 12(b)(6) since at best they only raise potential

questions of fact, if even that. Scheuer, 416 U.S. at 236; Phigenix, Inc. v.

Genentech, Inc., No. 1:14-CV-287-MHC, 2015 U.S. Dist. LEXIS 178300 at *11

(N.D.Ga. Mar. 12, 2015) (“plaintiff need not prove these elements at the

pleading phase; it need only plausibly allege them”). Nor do these contentions

refute Sionic’s allegations demonstrating Rossetti’s support of and financial

gain from Capital’s wrongdoing, including through her direct involvement in

due diligence regarding Sionic and its business beginning October 25, 2017,

solicitations of Berkeley and its beneficial owners to fund an investment in

Sionic, and her own well-documented investment in Berkeley before the

December 5, 2017 closing of the Share Transaction—all of which shows her

involvement, together with Capital, at every level of the Sionic investment

from its earliest beginnings.15



13 Rossetti’s purported Brief in Opposition at 6, 7.
14 Rossetti’s purported Brief in Opposition at 3, 7.
15 Counterclaim-TPC [Doc. 127-2] para. 16, 17, 52-57, 59, 60, Ex. G.



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      In another example of missing the mark, Rossetti’s purported Brief in

Opposition presents no credible argument for why Sionic’s Motion should be

denied on statute of limitations grounds. Dismissal on a statute of limitations

defense—notably absent here since Rossetti has presented no such defense in

conformity with Rule 24(c)—can only be granted when it is apparent on the

face of the complaint that a claim is time-barred. Lesti v. Wells Fargo Bank,

N.A., 960 F.Supp.2d 1311, 1316-17 (M.D.Fla. 2013); see, also, 1010 N. 30th

Rd., No. 20-CV-60622-RUIZ/STRAUSS, 2020 U.S. Dist. LEXIS 197586 at *24

(S.D.Fla. Oct. 22, 2020) (holding that the determination of whether a claim is

barred under the statute of limitations is typically improper on a Rule

12(b)(6) motion, especially when the outcome depends on contested questions

of fact, facts not in evidence, or factual ambiguities in the complaint), adopted

2020 U.S. Dist. LEXIS 218820 (S.D.Fla. Nov. 23, 2020).

      Here, Rossetti’s purported Brief in Opposition once more engages in

only rudimentary analysis, resulting in the poorly supported contention that

Sionic must have somehow filed outside of the limitations period. This

contention, however, fails to address Sionic’s well-pled allegations

demonstrating that it timely brought a claim for defamation and libel.

Specifically, Sionic showed that Rossetti owed Sionic a duty of trust and

confidence—under contract, as an authorized representative of Sionic per her

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AB Agreement, and by virtue of being a member of Sionic’s Advisory Board—

which duty she breached through her failure to disclose her sub rosa

involvement with Capital in effectuating the Sionic investment.16

      These allegations are sufficient to toll the statute of limitations and

extend the period of Rossetti’s actionable liability through the duration of her

underlying contractual and fiduciary obligations to Sionic. McLendon v.

Georgia Kaolin Co., 837 F. Supp. 1231, 1241 (M.D.Ga. 1993); McDaniel v.

SunTrust Bank (In re McDaniel), 523 B.R. 895, 908 (Bankr. M.D.Ga. 2014).

But, even if the Court determines Sionic’s libel and defamation claim is time-

barred, which it is not, Rossetti ignores the fact that her misconduct still

supports Sionic’s separate claims against her for breaches of contract and

fiduciary duty going back to November of 2017.17 She also ignores Berkeley’s

failure to oppose any of Sionic’s Counterclaims, which are intrinsically bound

to Sionic’s Third-Party Claims against Rossetti, and which under O.C.G.A. §

9-3-97 are timely. Wilferd v. Digital Equity, LLC, No. 1:20-cv-01955-SDG,

2021 U.S. Dist. LEXIS 86677 *14 (N.D.Ga. May 5, 2021); see also, Gibson v.

Casto, 523 S.E.2d 564, 565-566 (Ga. 1999); Harpe v. Hall, 596 S.E.2d 666, 667



16 Counterclaim-TPC [Doc. 127-2] at para. 97-102 (specifying the obligation),
103-106 (specifying the breaches of duty and obligation), Ex. G (Section 9).
17 Counterclaim-TPC [Doc. 127-2] at para. 24, 65, 93-106.



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(Ga. Ct. App. 2004) (holding that the filing of a third-party complaint

permitted a counterclaim that had not yet expired as of the commencement of

the action against the third-party plaintiff). Finally, Rossetti fails to address

her wrongful concealment of her tortious activities from Sionic, which Sionic

only discovered through Rossetti’s compulsion under subpoena—with which

she only reluctantly complied in late April.18 McLendon, 837 F. Supp. at 1241;

McDaniel, 523 B.R. at 908.

      The significant failures in argument and analysis shown in these two

examples are rife throughout Rossetti’s purported Brief in Opposition, and

demonstrate how she depends on distortions of fact and law to avoid the real

issues presented in Sionic’s Motion and Counterclaim-TPC. Nonetheless, to

the extent the Court deems additional argument appropriate, it should be

accomplished through regular motion’s practice under LR 7.1(D). Not

Rossetti’s contrivance to limit Sionic to a 15-page reply.

                                CONCLUSION

      Rossetti has not moved to intervene. Accordingly, neither she nor the

lawyers submitting her purported Brief in Opposition are properly before this



18Email dated April 21, 2021 from Jason Godwin to Simon Jenner, attached
and incorporated as Ex. B to this Reply Brief. Whether Rossetti in fact
complied fully with the subpoena remains to be determined.

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Court. Rossetti has violated the Rules and Local Rules, and seeks relief in the

effective form of a dismissal—which is improper at the pre-pleading stage. If

Rossetti believes Sionic’s Counterclaim-TPC is deficient, she can exercise the

right every other defendant-party has following service: to file an answer

asserting her defenses and, if appropriate, a motion to dismiss. Respectfully,

the Court should deny Rossetti’s purported Brief in Opposition.

      WHEREFORE, Sionic respectfully moves that the Court grant its

Motion and join Rossetti to this case.

      Respectfully submitted this June 30, 2021.

                                     /s/ Simon Jenner
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            CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local

Rule 5.1(C), using Century Schoolbook, 13-point font. I further certify I have

electronically filed on the date stated below, the foregoing REPLY BRIEF

IN FURTHER SUPPORT OF DEFENDANT SIONIC MOBILE

CORPORATION’S MOTION FOR LEAVE TO JOIN THIRD-PARTY

DEFENDANT LINDA ROSSETTI with the Clerk of Court using the

CM/ECF system which will automatically send email notification of such

filing to attorneys of record, as follows:

                              David J. Hungeling
                              Adam S. Rubenfield
                           Hungeling Rubenfield Law
                          1718 Peachtree Street, N.W.
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                              Godwin Law Group
                         3985 Steve Reynolds Boulevard
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                            Norcross, Georgia 30093
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This June 30, 2021.

                             /s/ Simon Jenner
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